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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION

UNITED STATES OF AMERICA                                                                      Plaintiff

v.                                                             Criminal Action No. 3:22CR-84-RGJ

BRETT HANKISON                                                                              Defendant

                                              * * * * *

                 ORDER GRANTING LEAVE TO APPEAR PRO HAC VICE

       This matter is before the Court on the Motion for Admission Pro Hac Vice filed by

Defendant, Brett Hankison, [DN 28].            The Court, having reviewed the motion and its

attachments as required by LR 83.2, having found that the movant has complied with all

elements of LR 83.2, and the Court having been otherwise sufficiently advised, IT IS HEREBY

ORDERED as follows:

       (1) Jack Byrd is granted leave to appear pro hac vice for the Defendant in this action.

       (2) If during the pendency of this action, Jack Byrd is disbarred, suspended from practice,

             is not in good standing with the Bar to which he is a member, or is subject to any

             other disciplinary action by any court, state, territory or the District of Columbia, Jack

             Byrd must immediately notify the Court and provide information necessary for the

             Court to evaluate whether continued admission in this case is appropriate.




Copies to:      All Counsel



                                                                 September 19, 2022
